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The Evolving Definition of Pathological Gambling
in the DSM-5

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One of the most anticipated events in the mental health field is the
publication of the fifth edition of the American Psychiatric Association’s
(APA) Diagnostic ard Statistical Manual of Mental Disorders (DSM)

in 2013. As the key reference book for mental health professionals,

the DSM contains descriptions, symptorns and other criteria for
diagnosing mental disorders, According to the APA:

These criteria for diagnosis provide a common language
among clinicians — professionals who treat patients with
mental disorders, By clearly defining the criteria for a mental
disorder, the DSM helps to ensure that a diagnosis is both
accurate and consistent; for example, that a diagnosis of
schizophrenia is consistent from one clinician to another, and
means the same thing to both of these clinicians, whether they
reside in the U.S. or other international settings.’

The APA also states that another Important role of the DSM is in the
area of research:

Only by having consistent (reliable) diagnoses can
researchers compare different treatments for similar patients,
determine the risk factors and causes for specific disorders,
and determine their incidence and prevalence rates. DSM
disorders are also used as the basis for treatment indications
by the U.S, Food and Drug Administration (FDA) for clinical
Practice Guidelines.!

The RSM diagnosis criterla are used by clinicians to report disorders to
insurers for reimbursement, and to public health authorities for causes
of illness and death.

This white paper will briefly address the evolving nature of the DSM,
the current diagnostic code for pathological gambling (PG) and the
proposed changes for the disorder in the DSM-5.

EVOLVING NATURE OF THE DSM

The DSM is not a static document. It has been pericdically reviewed
and significantly revised since the publication of DSiM-/in 1952. New
research in neurology, genetics, behavioral sciences, epidemiology and
other scientific areas have drarnatically expanded our understanding of
mental illnesses and led to changes In the DSM.

 

 
  
 

 

   

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According to the APA, the process for revising the DSM was guided by four principles:'

1, The highest priority is clinical utility — that is, making sure the manual is useful to those who
diagnose and treat patients with mental illness, and to the patients being treated,

2. All recommendations should be guided by research evidence.
3. Whenever possible, the DSM-5 should maintain continuity with previous editions.

4, No a priori restraints should be placed on the level of change permitted between the
DSM-IV and the DSM-5.

The APA charged those with revising the manual to consider the impact that any changes would
have on clinical practice, prevalence rates and other important factors. At the same time, the
task force was instructed to consider the diagnostic advances that would be made thro ugh
implementation of new scientific knowledge and clinical understanding.’

THE HISTORY OF PATHOLOGICAL GAMBLING (PG)

PG was added to the DSM in 1980 largely due to the efforts of Dr, Robert Custer, who had treated
pathological gambiers and written about their illness for several years. The original diagnostic
criteria included in the DSM-H!! were not tested beforehand; the diagnosis was based on Custer’s
clinical experience and that of other treatment professionals? The DSM-Ii! criteria began with a
statement about the individual experiencing progressive loss of control and then listed seven items,
with an emphasis on damage and disruption to the individual's family, personal or vocational
pursuits and money-related issues, In this edition, PG was classified as an impulse control disorder.

Inthe next edition (DSM-/V), the PG criteria were revised to reflect its similarity to substance
dependence, such as the addition of “repeated unsuccessful attempts to control, cut back or stop
gambling.”?

‘To be diagnosed as a pathological gambler according to the DSM-IV, an individual must meet at
least five of the 10 diagnostic criteria, and all criteria are granted equal weight. See the box below
for the DSM-IV's diagnostic criteria.

Additionally, the DSM-IV noted that the excessive gambling behavior might be an indication of

a manic episode and, therefore, bipolar disorder would be the primary diagnosis. This notation
indicated that, even at this early stage, the comorbidity of PG with other psychiatric problems was
recognized. Later research by the National Comorbidity Study Replication would verify that 74
percent of cases where the individual with PG meets criteria for another lifetime disorder, at least
one other such disorder began at an earlier age than PG.*

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CRITIQUE OF DSI-iV’S DEFINITION OF PG

Since 1994, researchers and clinicians have identified a number of shortcomings In the DSM-IV
regarding PG.

First, the DSM-IV offered a clinical description with little empirical support outside of a treatment
environment, Because the majority of pathological gamblers never seek formal treatment, a clinical
description that is primarily based on observing those who do can be problematic, particularly
when attempting to define the nature and origins of PG and trying to estimate its prevalence?

Second, the DSM-IV recognized only the presence or absence of a clinical disorder, although
evidence suggests that gambling problems exist on a continuum and that subclinical instances of
PG are more prevalent. Subclinical pathological gamblers, commonly known as problem gamblers,
have been defined as having difficulties as a result of their gambling but do not fulfill the five criteria
for a diagnosis. Other labels used to describe this group are “at-risk,” “level 2" and “probable
pathological.”®

Third, many have questioned the inclusion of PG under the impulse-control disorders classification,
citing important differences between the disorders, As Shaffer and Korn observed, individuals with
kleptomania and pyromania (both impulse control disorders) feel overwhelmed by an imputse ta
act and often report a sense of relief after having acted. In contrast, pathological gamblers, while in
action, often find their gambling enjoyable and only after the gambling is terminated or losses are
incurred do pathological gamblers begin to feel distress.*

CHANGES FOR PG IN DSM-5
Reclassification: From Impulse Control Disorder to Addiction

Inthe DSM-IV, PG was classified under the section titled, “Impulse Control Disorders Not Elsewhere
Classified,” along with Compulsive Hair Pulling (Trichotillomania); Intermittent Explosive Disorder:
Kleptomania; and Pyromania. The DSM-5 work group proposed that PG be moved to the category
Substance-Related and Addictive Disorders.’

The rationale for this change is that the growing scientific literature on PG reveals common
élements with substance use disorders, Many scientists and clinicians have long believed that
problem gamblers closely resemble alecholics and d rug addicts, not only from the external
consequences of problem finances and destruction of relationships, but, increasingly, on the inside
as well.’ According to Dr. Charles O’Brien, chair of the Substance-Related Disorders Work Group for
DSM-6, brain imaging studies and neurochemical tests have made a “strong case that igambling]
activates the reward system in much the same way that a drug does,."* Pathological gamblers
report cravings and highs in response to their stimulus of choice; it also runs in farnilies, often
alongside other addictions.’ Neuroscience and genetics research has played a key role in these
determinations.

Internet addiction was considered for this category, but work group members decided there

was insufficient research data for it to be included. Another so-called behavioral addiction,

“sex addiction,” also was not included because the work group found no scientific evidence that
“reward circuitry is operative in the same way as in addictive areas.”#

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The Evolving Definition of Pathological Gambling
Renaming: From PG to Gambling Disorder

Officially changing the name to “Gambling Disorder” is a welcome revision for many researchers
and clinicians who have expressed concern that the label “pathological” is a pejorative term that
only reinforces the social stigma of being a problem gambler®

Changes in Diagnostic Criteria and Lowering of Threshold for a Diagnosis

One major change In the DSM-5's clinical description of gambling disorders is the elimination

of the criterion “has committed illegal acts such as forgery, fraud theft or embezzlament to
finance gambling.” The rationale for this change is the low prevalence of this behavior among
individuals with gambling disorder, In other words, no studies have found that assessing criminal
behavior helps distinguish between people with a gambling disorder and those without one."
Studies suggest that its elimination will have little or no effect on prevalence rates and little effect
on diagnosis. However, although cammitting illegal acts will no longer be a stand-alone criterion
for diagnosts, the text will state that illegal acts are associated with the disorder. In particular, the
criterion related to lying to others to cover up the extent of gambling will be described to include
specific mention of illegal activities as one potential form of lying.”

Other changes in the criteria are as follows:

* “Is preoccupied with gambling” will be “Is often preoccupied with gambling" to clarify
that one need not be obsessed with gambling all of the time to meet this diagnostic
criteria.

+ “Gambles as a way to escape from problems" will be “Gambles when feeling distressed.”

* Inthe text accompanying the criteria, “chasing one’s losses” is clarified as the frequent,
' and often long-term, “chase” that is characteristic of gambling disorder, not short-term
chasing.

The DSM-5 work group observed that several empirical studies have supported lowering the
threshold for 4 more accurate diagnosis of a gambling disorder from five to four criterion.
For example, Stinchfield” found that a cutoff scare of four made modest Improvements in
classification accuracy and, most importantly, reduced the rate of false negatives,

Another recent study conducted in France found that the DSM-5 criteria (the DSIV-IV criteria

without the illegal acts criterion and with a cutoff of four symptoms) performed better than the
DSM-IV criteria alone, the DSM-IV criteria without the illegal acts criterion and a new instrumen
based on the DSM criteria for substance abuse.” ,

Finally, to diagnose a gambling disorder, the critiera that are displayed among the individual
must occur within a 12-month period, unlike the DSM-IV which did not provide a time period for
symptoms. In other words, if the person had two symptoms years ago and two symptoms in the
past year, he or she would not qualify for a diagnosis."

 

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The Evolving Definition of Pathological Gambling
implications for Research and Clinical Applications

The DSM-5 diagnostic code for gambling disorders raises a number of issues and questions for
both investigators and cllnicians:

+ Will the reclassification of gambling disorders with alcohol and drug use disorders result
in greater coverage for treatment of this disorder by health insurance?

« Will the reclassification increase public health awareness of gambling disorders, and
increase screening in substance use disorders settings?

* Will the reduced threshold for a diagnosis alter the rate of gambling disorders
substantially in future studies? Although preliminary examination of this issue indicates
that the change will be negligible, future prevalence surveys will work to answer this
question,

* Will the elimination of the “illegal acts” criterion diminish “the potential heterogeneity
among people who satisfy the diagnostic code for a gambling disorder?”

These are just a few examples of questions that will inspire further research In the continuing
quest to understand and treat gambling disorders.

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